Case 1:01-cv-12257-PBS Document 6530-19 Filed 09/22/09 Page 1 of 6




             EXHIBIT 18
         Case 1:01-cv-12257-PBS Document 6530-19 Filed 09/22/09 Page 2 of 6

Tootell, Michael                                            October 25, 2007
                                  Chicago, IL

                                                                               Page 1
                UNITED STATES DISTRICT COURT

                 DISTRICT OF MASSACHUSETTS



   -----------------------------X

   In re:    PHARMACEUTICAL       )   MDL No. 1456

   INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

   PRICE LITIGATION               )   No. 01-12257-PBS

   -----------------------------X



         VIDEOTAPED DEPOSITION OF MICHAEL TOOTELL

                     OCTOBER 25, 2007

                     CHICAGO, ILLINOIS



   Videotaped Deposition of MICHAEL TOOTELL, at

   71 South Wacker Drive, 32nd Floor, Chicago,

   Illinois, commencing at 9:00 a.m. on Thursday,

   October 25, 2007, before Donna M. Kazaitis, RPR,

   CSR    No. 084-003145.




                        Henderson Legal Services
                              202-220-4158

                                                                  1ae8ed53-7d5b-401c-a289-5df0a2a374b3
             Case 1:01-cv-12257-PBS Document 6530-19 Filed 09/22/09 Page 3 of 6

Tootell, Michael                                                                October 25, 2007
                                            Chicago, IL
                                              Page 26                                                  Page 28
 1   information concerning Ven-a-Care or KTM            1   Enteral is included, parenteral is not included.
 2   litigation?                                         2   We include wheelchairs, hospital beds, walkers,
 3       A. Absolutely not. Ven-a-Care was not a         3   several kinds of oxygen equipment.
 4   Ross customer as far as I know.                     4      Q. So is your consulting then limited to
 5       Q. What about litigation by Whistle             5   the issue concerning Medicare's competitive
 6   Blowers, have you prepared any materials            6   bidding?
 7   concerning that?                                    7      A. Yes, absolutely, yes, it is.
 8       A. No. I have not.                              8      Q. Is Abbott a client of yours?
 9       Q. Sir, are you currently an Abbott             9      A. No. We have a six-month rule. You
10   employee?                                          10   can't work for Abbott within six months. No.
11       A. No.                                         11      Q. I understand. We've got comparable
12       Q. When did you leave Abbott's employ?         12   rules in the government.
13       A. May 26th.                                   13          Sir, what I'd like you to do now is
14       Q. Why did you leave?                          14   take us through your employment history with
15       A. I was able to retire.                       15   Abbott and the titles that you've held with
16       Q. So you decided to retire?                   16   Abbott.
17       A. Yes.                                        17      A. Okay. I was brought in as manager for
18       Q. What are you doing now?                     18   insurance development I believe, and after
19       A. Several things. Pretty important to me      19   several years that title became senior manager
20   as a hospice volunteer.                            20   for health policy and reimbursement, which
21       Q. That's tremendous.                          21   several years later became director of health
22       A. I spend sometime with hospice and           22   policy.
                                              Page 27                                                  Page 29
 1   hospice patients. That's important to me.          1        Q. What were your job responsibilities --
 2           I also have a small consulting company.    2    well, let me ask you, during the course that you
 3   It's called MGT Decisions. It's focused on         3    held these three titles did you have the same job
 4   Medicare's competitive bidding program. And I've   4    responsibilities?
 5   been selected by, nominated by, an organization    5        A. Similar.
 6   called AdvaMed, Health Industry Manufacturers      6        Q. Why don't we start with your position
 7   Association, and that association nominated me to  7    in insurance development. What does that mean?
 8   represent healthcare manufacturers on Medicare's   8    What did the position entail?
 9   Program Advisory and Oversight Committee. So I'm 9          A. This was the beginning of a marketing
10   helping Medicare to craft a competitive bidding   10    theme called market expansion. It was a major
11   program.                                          11    initiative to improve the size of the Ross
12       Q. Are you drawing from your experience       12    nutritional division, particularly opening up
13   with Abbott and with Blue Cross for that          13    retail markets in oral supplement uses and other
14   particular consulting?                            14    products I'm sure.
15       A. Absolutely.                                15        Q. What were your responsibilities?
16       Q. Is your consulting work limited to the     16        A. I was the liaison between third-party
17   parenteral or enteral nutrition market, or do you 17    payors, particularly Medicare, which is our tube
18   provide consulting services that go beyond that   18    feeding business, and the Ross business unit and
19   particular market?                                19    division leadership.
20       A. My consulting is focusing on the           20        Q. What other responsibilities did you
21   competitive bidding initiative that Medicare is   21    have?
22   doing now. There are ten products involved.       22        A. I did a fair amount of calling on
                                                                                   8 (Pages 26 to 29)
                               Henderson Legal Services
                                     202-220-4158

                                                                                        1ae8ed53-7d5b-401c-a289-5df0a2a374b3
             Case 1:01-cv-12257-PBS Document 6530-19 Filed 09/22/09 Page 4 of 6

Tootell, Michael                                                                October 25, 2007
                                            Chicago, IL
                                              Page 30                                                  Page 32
 1   Medicare carriers, explaining the features and   1         A. Yes, and with the preceding titles as
 2   benefits of Ross products to them, variety of    2      well.
 3   associated chores as issues came up.             3         Q. Under Medicare it says "Successfully
 4       Q. Okay. And you've listed --                4      protected $140-$180 million in annual Medicare
 5          MS. ST. PETER-GRIFFITH: Great timing      5      Part B reimbursed sales for seventeen years." Do
 6   because I'd like to discuss with you how you'd   6      you see that?
 7   describe this.                                   7         A. Yes.
 8          MR. FERGUSON: Are those the right         8         Q. What do you mean by that?
 9   ones?                                            9         A. That Ross business, Ross is the major
10   BY MS. ST. PETER-GRIFFITH:                      10      market leader for enteral tube feeding, and we
11       Q. Actually, if I could put that in front   11      had a major part of that business. I was the key
12   of the witness.                                 12      person for Ross explaining the features and
13          MS. ST. PETER-GRIFFITH: And why don't 13         benefits of our products to Medicare carriers and
14   we label this separately, is that all right, as 14      Medicare policy makers.
15   the next exhibit, Exhibit Tootell 003.          15         Q. Was that to secure the ability to have
16             (WHEREUPON Deposition Exhibit         16      Medicare or Medicaid reimbursement for those
17   Tootell 003 was marked as of 10/25/2007.)       17      products?
18   BY MS. ST. PETER-GRIFFITH:                      18         A. Yes.
19       Q. I've noticed on what's been marked as    19         Q. It also indicates that you worked with
20   Exhibit Tootell 003, which says at the top MGT  20      ten trade and professional associations to modify
21   Tootell, MGT Decisions LLC. (Document tendered 21       adverse Medicare policies. Do you see that?
22   to the witness.)                                22         A. Yes.
                                              Page 31                                                  Page 33
 1           Let me ask you first, is that your          1      Q. What do you mean by that?
 2   consulting company?                                 2      A. There are ten different trade
 3       A. Yes, it is.                                  3   associations that we were members of over the
 4       Q. And you've identified your work with         4   time, they were not always the same. There was
 5   Ross Products Division.                             5   ebb and flow as Washington organizations grow and
 6       A. Absolutely.                                  6   merge and flounder, whatever. And I worked with
 7       Q. You only have one title there. It says       7   those associations.
 8   Director of Health Policy, 2002 to 2007.            8          AdvaMed, Health Industry Manufacturers
 9       A. That's true.                                 9   Association, is a key group. For years I was
10       Q. Is that when you held that --               10   chair of their competitive bidding working group.
11       A. No. As I said before, I had several         11   So I would help out writing papers and writing
12   titles, similar responsibilities. This is a        12   presentations helping the associations craft
13   resume to be used by MGT clients, and clearly I    13   position statements that would be helpful.
14   finished my time at Ross with that title.          14      Q. Were there any particular Medicare
15       Q. Well, you've listed several items under     15   policies that Abbott or Ross or you considered
16   Medicare, Medicare Competitive Billing, and        16   adverse that you were successful in modifying?
17   Medicaid. Do you see that?                         17      A. Yes.
18       A. Uh-huh.                                     18          MR. WINCHESTER: Objection, form.
19       Q. Do those particular listings identify       19   BY MS. ST. PETER-GRIFFITH:
20   what you did in your capacity as Director of       20      Q. What were those?
21   Health Policy for Ross Products Division, Abbott   21      A. Well, over seventeen years a number of
22   Laboratories?                                      22   things come up. Do you want to narrow it more
                                                                                   9 (Pages 30 to 33)
                               Henderson Legal Services
                                     202-220-4158

                                                                                        1ae8ed53-7d5b-401c-a289-5df0a2a374b3
             Case 1:01-cv-12257-PBS Document 6530-19 Filed 09/22/09 Page 5 of 6

Tootell, Michael                                                              October 25, 2007
                                           Chicago, IL
                                            Page 34                                                  Page 36
 1   specifically?                                      1   forward. Obviously I spent seventeen years with
 2       Q. Yes, please. If you can just identify       2   Ross. There's many activities.
 3   what those particular policies were.               3      Q. Okay. Well, I'm just trying to exhaust
 4       A. There was a proposal to reduce payment      4   your memory before we start reviewing the
 5   rates for our enteral nutritional products using   5   documents. I just want to exhaust your memory as
 6   a legal principle called inherent reasonableness.  6   to what initiatives that you can recall that,
 7          The Medicare carriers, there are four       7   again, to use your language, involved your
 8   insurance companies that worked with Medicare and 8    working to modify adverse Medicare policies.
 9   had contracts to cover enteral nutritional         9      A. I think I've covered those and will be
10   products, did a bad survey. It was statistically  10   glad to take any further questions.
11   flawed. We pointed out the statistical flaws.     11      Q. Okay. Were you involved -- well, let
12   We worked with a national association, National   12   me ask you this: Was this something that you did
13   Alliance for Infusion Therapy, that took some of  13   on your own, or was this part of your job
14   my concepts and went to outside economic research 14   responsibilities with Abbott?
15   programs who wrote up a complete draft, an        15      A. These were consistent with my job
16   explanation of that situation.                    16   responsibilities.
17          That was reviewed by a number of           17      Q. You were the reimbursement, to use lack
18   Washington agencies, and at the end new           18   of a better term, sort of guru within the Ross
19   provisions were put into law, or procedures, that 19   division; is that fair?
20   required more statistical rigor in the use of     20          MR. FERGUSON: Object to form.
21   inherent reasonableness rate reductions.          21          MR. WINCHESTER: Object to form.
22       Q. Any other policies that you can think      22   BY MS. ST. PETER-GRIFFITH:
                                            Page 35                                                  Page 37
 1   of that you, to use your terms, were successful    1      Q. Go ahead.
 2   in modifying?                                      2      A. I was responsible for reimbursement
 3       A. I'm looking at other things that I          3   policies for the Ross division for the medical
 4   mentioned in this process.                         4   nutritional product line.
 5          There was an effort in the early '90s       5      Q. Were there other people within other
 6   to include enteral nutritional products in a drug  6   divisions that were similarly responsible for
 7   rebate program, working with Washington attorneys 7    other Abbott product lines for reimbursement?
 8   I identified the legislative language. It was      8      A. Yes.
 9   restricted to pharmaceutical products, not to      9      Q. Who can you think of?
10   nutritional products.                             10      A. There were a number of other people
11          A number of us worked to point this out    11   that we, you know, from the documents we've
12   to the CMS group in charge of the OBRA rebate     12   produced. And those names changed over time, as
13   negotiations, and that resulted in a letter from  13   people, for some people this was a career. For
14   the National Medicaid Program to all the state    14   me it was. For Virginia Tobiason it was. For
15   Medicaid directors explaining that OBRA did not   15   other people it was a shorter term program, part
16   include nutritional products and that nutritional 16   of a much larger career.
17   products were not subject to the rebate           17      Q. Did you work with Virginia Tobiason?
18   requirements. And it's because of the craft of    18      A. Yes.
19   the underlying legislation did not permit         19      Q. What was your relationship with
20   rebates.                                          20   Virginia?
21       Q. Anything else?                             21      A. When I came to Ross, my hiring vice
22       A. I prefer to take issues as they come       22   president brought me to meet Virginia. He and
                                                                               10 (Pages 34 to 37)
                              Henderson Legal Services
                                    202-220-4158

                                                                                      1ae8ed53-7d5b-401c-a289-5df0a2a374b3
             Case 1:01-cv-12257-PBS Document 6530-19 Filed 09/22/09 Page 6 of 6

Tootell, Michael                                                                October 25, 2007
                                            Chicago, IL
                                            Page 262                                                  Page 264
 1          THE WITNESS: Yes.                             1   five percent, what price term specifically would
 2   BY MR. ANDERSON:                                     2   be marked up to twenty-five percent?
 3      Q. The answer was "Absolutely"?                   3          MR. WINCHESTER: Objection, asked and
 4      A. The answer is "Yes."                           4   answered.
 5      Q. Thank you.                                     5          THE WITNESS: I believe it's the list
 6          Mr. Tootell, if you could look at             6   price provided by the pricing people in those
 7   what's been marked today as Mike Tootell Exhibit     7   divisions.
 8   Tootell 007. Looking at II, Subsection (b) on        8   BY MR. ANDERSON:
 9   the first page of that exhibit. I'll read for        9      Q. The Abbott personnel; correct?
10   benefit of the record, "Improved data reporting     10      A. Yes.
11   to First Databank and associated data warehouses    11      Q. I think along those lines you testified
12   to assure sound calculation of AWP rates." Did I    12   this morning that WAC price is known as list
13   read that correctly?                                13   price; is that correct?
14      A. Yes, you did.                                 14      A. That's the way we use that phrase.
15      Q. What is a sound calculation of an AWP         15      Q. The list price from whom to whom?
16   rate?                                               16      A. The list price as designated by the
17      A. The sound calculation begins with the         17   manufacturer.
18   manufacturer's list price and it results in the     18      Q. Is it also the -- strike that and I'll
19   plus a mark-up by the publisher. That's the         19   rephrase to be more specific.
20   process of developing a sound calculation.          20          Is the WAC price the price charged by
21      Q. And what mark-up specifically                 21   Abbott to wholesalers?
22   constitutes a sound mark-up?                        22          MR. WINCHESTER: Objection, form.
                                            Page 263                                                  Page 265
 1          MR. WINCHESTER: Objection, form.              1          THE WITNESS: No. There would be other
 2          THE WITNESS: That would be the                2   prices and there would be other contracts
 3   business of the publisher. And each of the           3   directly between the pharmaceutical distributors
 4   publishers did a survey and there were some          4   and Ross, and I have not seen those contracts. I
 5   differences between the publishers about the size    5   don't know the content of those.
 6   of their mark-up.                                    6   BY MR. ANDERSON:
 7   BY MR. ANDERSON:                                     7      Q. What customer, if any, to your
 8       Q. What was the standard mark-up for             8   knowledge is charged WAC?
 9   Abbott products?                                     9      A. We wouldn't use that phrase in Ross.
10       A. For Abbott pharmaceutical products it's      10      Q. Ross does not charge customers WAC, to
11   twenty-five percent. For Ross products they were    11   your knowledge?
12   in the eighteen and a half to nineteen percent.     12      A. To my knowledge, no.
13       Q. And what about for HPD products?             13      Q. To your knowledge, does Abbott or any
14       A. I have no idea.                              14   other division of Abbott other than Ross charge
15       Q. When you say "pharmaceutical products,"      15   any customer WAC?
16   do you mean products sold by the division known     16      A. Those are pricing decisions that I
17   as PPD, or do you mean drugs generally?             17   don't, I just don't have that information. I
18       A. Products recognized as drugs.                18   don't know of any either way.
19       Q. So that would encompass HPD products as      19          Pricing decisions tend to be
20   well; correct?                                      20   confidential, and appropriately so. I did not
21       A. The drug part of their business, yes.        21   hear those. I did not participate in those
22       Q. And when you say a mark-up of twenty-        22   discussions.
                                                                              67 (Pages 262 to 265)
                               Henderson Legal Services
                                     202-220-4158

                                                                                        1ae8ed53-7d5b-401c-a289-5df0a2a374b3
